Case 1:04-cr-10061-.]DT Document 171 Filed 06/08/05 Page 1 of 2 Page|D 209

IN THE UNITED STATES DISTRICT COURT £?
FOR THE WESTERN DISTRICT OF TENNESSEE £DL%
EASTERN DIVISION “

UNITED STATES OF AMERICA

vs Criminal No.

 

PATRICK PEARSON
ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

At the request of counsel, the trial date in the above styled
matter is hereby continued to allow counsel for the defendant
additional time to prepare.. The ends of justice served by
taking such action outweigh the best interest of the public and the
defendant in a speedy trial.

The Clerk shall reset the REPORT DATE/MOTION HEARING
for Thursday, July 7, 2005 at 8:30 A.M. and the TRIAL DATE for
Wednesday_c July 20l 2005c at 9:30 A.M. The Court finds that
the grounds for this continuance justified excluding the period
of June 20, 2005, to July 20, 2005, as excludable delay under
Title 18 U.S.C.§3161(h)(3)(A)(B) and (h)(8)(iv).

IT IS SO ORDERED.

  
  

b-QM

D. TODD
D STATES DISTRICT JUDGE

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with Rula 55 and!or 32(b) FRCrP on MLDEL__

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Notice of Distribution

This notice confirms a copy of the document docketed as number 171 in
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June 8, 2005 to the parties listed.

 

 

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

